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       During the summer of 2017 and the late winter of 2018, while I was freshly seventeen
years old, I was groomed and eventually sexually assaulted on multiple occasions by David
Eugene Harlin. Most of these instances were known to the majority of the directors of the
Pittsburgh Renaissance Festival. During that time, not a single one of them attempted to speak
to me about anything, I only heard secondhand from other sources of them gossiping about me.
No one explicitly was vicious toward me, but as I’ve previously stated, they all stood by idly as I
was assaulted.
       Contact between myself and David “Quinn” Harlin began one evening when he was
driving me home, when I mentioned a message left by a user using an anonymous messaging
extension on Facebook. While I no longer have access to this Facebook account, I recall the
message going along the lines of, “...you’re a beautiful and talented girl, and I can’t help but have
feelings for you.” He then proceeded to further groom me into believing this type of relationship
between a seventeen year old and a forty four year old man was decent. While I did court his
affections, it was merely to keep him content with me. On one occasion, after hearing that I was
in contact with one of his friends, he texted me a long-winded message containing a string of
insults. The only thing that made him stop was if I told him I would only speak to him. This was
the first instance of verbal violence from Harlin. The second was a Facebook post vaguely
discussing how I was “guilt tripping” him, comparing me to his mother. Aside from that, I
constantly would second guess this relationship, voicing my concerns to Harlin. He would reply
by asking me why I was trying to convince myself to follow through with things, and not asking
himself why he, a forty four year old man, was romantically involved with a seventeen year old.
This carried on until January of 2018, when we fell out of communication due to myself finally
realizing the magnitude of the situation.
       James “Doc” Amor and a group of others have known about this since it began, but
ultimately decided to not console me in any matter regarding the situation. Instead, they
ridiculed and blamed me, a child, for everything that was happening to me. They claimed I was
the one flaunting myself and enticing them, and have continued to stand by that statement to
this very day. I received an email from “Doc” at the end of the 2017 season to discuss moving
forward, in which he says, “it was painfully obvious to the directors that you were driven by a
desire to be the center of attention courting the attentions of… and Quinn.” While he did not
explicitly say anything that would be deemed offensive to me, the lack of action regarding the
incident ultimately led to it being prolonged. Also, in this email, he also claims that, “I don't
care what happens after hours between any of you, but I really need you to focus on being a
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street character,” solidifying that he knew everything that was happening to me, but chose not
to care.
           It is the duty of an adult to keep children around them safe, and sadly I did not see any of
that behavior from “Doc”, Patti, or Brianna Kube. I was only met with ridicule and blame for
allowing myself to be assaulted by Harlin. To this very day, I carry the guilt from this time in my
life, and the shame of knowing that I, a child at the time, continue to be blamed for something I
never wanted in the first place. Regardless if I started the relationship between Harlin and I, it is
the job of the surrounding adults to ensure that I was safe. Since then, my reputation at the
Pittsburgh Renaissance Festival has been smeared. Even worse, other young and impressionable
teenage girls have gone through the same thing I have, with the same lack of action. The cycle
needs to be broken, and those who are guilty need to be seen for the heinous things they’ve
done.
